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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
              Plaintiff,                           )
                                                   )
       v.                                          )       No. 4:20 CR 237 SRC
                                                   )
MARTINEZ JACKSON and                               )
ANDREW BILLINGSLEY, JR.,                           )
                                                   )
              Defendants.                          )


                    GOVERNMENT'S SUBSTITUTION OF COUNSEL


       COMES NOW, Sayler A. Fleming, United States Attorney for the Eastern District of

Missouri, and Rodney H. Holmes, Assistant United States Attorney for said District, and hereby

enter their appearance on behalf of the United States, replacing Gregory Goodwin, Special

Assistant United States Attorney, who withdraws his appearance.

                                                   Respectfully submitted,

                                                   SAYLER A. FLEMING
                                                   United States Attorney

                                                   s/Rodney Holmes
                                                   RODNEY HOLMES, #624551IL
                                                   Assistant United States Attorney



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of this document was filed
with the Court’s electronic file management system for service upon all parties and counsel of
record on June 11, 2021.
                                                    s/Rodney Holmes
                                                    RODNEY HOLMES, #624551IL
                                                    Assistant United States Attorney
